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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
v.                                                )      Case No. 4:01CR3125
                                                  )
ERIC D. CASILLAS,                                 )
                                                  )
                            Defendant.            )

                                          ORDER

       THIS MATTER comes before the Court on defendant's unopposed motion to

continue his revocation hearing (filing 176). The Court, being fully advised in the premises,

and noting that the Government has no objection, finds that defendant’s motion should be

granted.

       IT IS THEREFORE ORDERED that the revocation hearing scheduled in this case

shall be continued until the 7 th day of July, 2006, at 11:30 a.m. The defendant is ordered

to appear at such time.

       June 29, 2006.                             BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
